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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


  Civil Action No. 1:22-cv-01129-NYW-SKC

  ERIC COOMER, PH.D.,

         Plaintiff,

  v.

  MICHAEL J. LINDELL, FRANKSPEECH
  LLC, AND MY PILLOW, INC.,

         Defendants.


         DEFENDANTS’ ANSWER TO PLAINTIFF’S SECOND AMENDED
                           COMPLAINT


         Defendants Michael J. Lindell (“Lindell”), Frankspeech, LLC (now known as

  Frankspeech Inc.) (“FrankSpeech”) and My Pillow, Inc. (“MyPillow”) (collectively

  referred to herein as “Defendants”) for their Answer to the Second Amended Complaint,

  ECF No. 170 (“Complaint”), of Plaintiff Eric Coomer (“Plaintiff”) in the above-entitled

  matter, denies each allegation contained therein, unless otherwise admitted or qualified

  herein. Defendants state and allege as follows:

                                    I.     INTRODUCTION

         1.     Defendants deny the allegations as stated in Paragraph 1 of the Complaint

  and place Plaintiff to his burden to prove such allegations.

         2.     For the Answer to Paragraph 2 of the Complaint, Defendants assert that no

  response is required to the allegations therein which are not directed at Defendants, but to

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  the extent a response is deemed required, Defendants further state that they lack knowledge

  or information sufficient to form a belief about the truth of such allegations, the legal effect

  of which is a denial. Defendants deny the remaining allegations as stated in Paragraph 2

  and place Plaintiff to his burden to prove such allegations.

         3.     For the Answer to Paragraph 3 of the Complaint, Defendants admit only that

  Lindell has used the phrases “traitor to the United States,” “treasonous,” and “criminal,” in

  the context of characterizing Plaintiff, and the phrase “did crimes against the United States

  and quite frankly all of humanity” in the context of a hypothetical involving Plaintiff, that

  depictions of Lindell using one or more of these phrases were accessible on the website

  frankspeech.com, and that the Cyber Symposium was available for viewing within the

  frankspeech.com domain. Defendants deny the remaining allegations as stated in

  Paragraph 3 of the Complaint, including those allegations which inaccurately,

  incompletely, or out-of-context imply, characterize, summarize, or conclude from or about

  documents and/or communications.

         4.     Defendants deny the allegations as stated in Paragraph 4 of the Complaint

  and place Plaintiff to his burden to prove such allegations.

         5.     Defendants deny the allegations as stated in Paragraph 5 of the Complaint

  and place Plaintiff to his burden to prove such allegations.

                                          II.    PARTIES

         6.     Paragraph 6 of the Complaint is not directed at Defendants and requires no

  response from Defendants.




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         7.     For the Answer to Paragraph 7 of the Complaint, Defendants admit only that

  Lindell is an individual domiciled in Minnesota, and the founder and CEO of FrankSpeech

  and MyPillow, and that Lindell has appeared in this litigation. Defendants deny the

  remaining allegations as stated in Paragraph 7 and place Plaintiff to his burden to prove

  such allegations.

         8.     For the Answer to Paragraph 8 of the Complaint, Defendants assert that no

  response is required to the allegations therein which contain statements and conclusions of

  law, but to the extent a response is deemed required, Defendants deny those allegations.

  Defendants further state that they admit only that FrankSpeech LLC was formerly a limited

  liability company organized and existing under the laws of the state of Delaware that is

  now known as FrankSpeech Inc., that FrankSpeech has appeared in this litigation, and that

  FrankSpeech broadcasts its programming to a national audience on its own website

  frankspeech.com. Defendants deny the remaining allegations as stated in Paragraph 8 and

  place Plaintiff to his burden to prove such allegations.

         9.     For the Answer to Paragraph 9 of the Complaint, Defendants admit only that

  My Pillow, Inc. is a for-profit corporation with its principal place of business in Chaska,

  Minnesota and that MyPillow has appeared in this litigation. Defendants deny the

  remaining allegations as stated in Paragraph 9 and place Plaintiff to his burden to prove

  such allegations.




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                             III.    JURISDICTION AND VENUE

         10.     Paragraph 10 of the Complaint contains legal conclusions to which no

  response is required. To the extent a response is deemed required, Defendants do not

  dispute the subject matter jurisdiction of this Court.

         11.     Paragraph 11 of the Complaint contains legal conclusions to which no

  response is required. To the extent a response is deemed required, Defendants admit this

  Court has personal jurisdiction over Defendants in this action. Defendants deny the

  remaining allegations as stated in Paragraph 11 place Plaintiff to his burden to prove such

  allegations.

         12.     For the Answer to Paragraph 12 of the Complaint, including footnotes 1

  through 3, Defendants admit only that this Court has personal jurisdiction over Lindell.

  Defendants deny the remaining allegations as stated in Paragraph 12 and place Plaintiff to

  his burden to prove such allegations.

         13.     For the Answer to Paragraph 13 of the Complaint, including footnotes 4

  through 6, Defendants admit only that this Court has personal jurisdiction over

  FrankSpeech. Defendants deny the remaining allegations as stated in Paragraph 13 and

  place Plaintiff to his burden to prove such allegations.

         14.     For the Answer to Paragraph 14 of the Complaint, including footnotes 7

  through 9, Defendants admit only that this Court has personal jurisdiction over MyPillow.

  Defendants deny the remaining allegations as stated in Paragraph 14 and place Plaintiff to

  his burden to prove such allegations.




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         15.    For the Answer to Paragraph 15 of the Complaint, Defendants admit only

  that this Court has personal jurisdiction over Defendants and that venue is not improper in

  this Court. Defendants deny the remaining allegations as stated in Paragraph 15 and place

  Plaintiff to his burden to prove such allegations.

         16.    For the Answer to Paragraph 16 of the Complaint, Defendants admit only

  that this Court has personal jurisdiction over Defendants and that venue is not improper in

  this Court. Defendants deny the remaining allegations as stated in Paragraph 16 and place

  Plaintiff to his burden to prove such allegations.

                                          IV.       FACTS

         17.     For the Answer to Paragraph 17 of the Complaint, Defendants admit only

  that Plaintiff is the former Director of Product Strategy and Security for Dominion Voting

  Systems, which is based in Denver, Colorado and provides election support services across

  the United States. Defendants lack knowledge or information sufficient to form a belief

  about the truth of the remaining allegations as stated in Paragraph 17, the legal effect of

  which is a denial.

  A.     The 2020 presidential election was a free and fair election.1

         18.    For the Answer to Paragraph 18 of the Complaint, including footnotes 10

  through 12, Defendants assert that no response is required because the allegations are not

  directed at Defendants. To the extent a response is deemed required, Defendants admit only




  1
   For the Answer to this sub-heading, Defendants assert that no response is required
  because the allegations are not directed at Defendants.

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  that Paragraph 18 contains Plaintiff’s characterization of sources he references or cites

  therein.

         19.    For the Answer to Paragraph 19 of the Complaint, including footnote 13,

  Defendants assert that no response is required because the allegations are not directed at

  Defendants. To the extent a response is deemed required, Defendants admit only that

  Paragraph 19 contains Plaintiff’s characterization of sources he references or cites therein.

         20.    For the Answer to Paragraph 20 of the Complaint, including footnote 14,

  Defendants assert that no response is required because the allegations are not directed at

  Defendants. To the extent a response is deemed required, Defendants admit only that

  Paragraph 20 contains Plaintiff’s characterization of sources he references or cites therein.

         21.    For the Answer to Paragraph 21 of the Complaint, including footnote 15,

  Defendants assert that no response is required because the allegations are not directed at

  Defendants. To the extent a response is deemed required, Defendants admit only that

  Paragraph 21 contains Plaintiff’s characterization of sources he references or cites therein.

         22.    For the Answer to Paragraph 22 of the Complaint, including footnote 16,

  Defendants assert that no response is required because the allegations are not directed at

  Defendants. To the extent a response is deemed required, Defendants admit only that

  Paragraph 22 contains Plaintiff’s characterization of sources he references or cites therein.

         23.    For the Answer to Paragraph 23 of the Complaint, including footnotes 17

  through 19, Defendants assert that no response is required because the allegations are not

  directed at Defendants. To the extent a response is deemed required, Defendants admit only




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  that Paragraph 23 contains Plaintiff’s characterization of sources he references or cites

  therein.

         24.    For the Answer to Paragraph 24 of the Complaint, including footnotes 20

  through 24, Defendants assert that no response is required because the allegations are not

  directed at Defendants. To the extent a response is deemed required, Defendants admit only

  that Paragraph 24 contains Plaintiff’s characterization of sources he references or cites

  therein.

         25.    For the Answer to Paragraph 25 of the Complaint, including footnotes 25 and

  26, Defendants assert that no response is required because the allegations are not directed

  at Defendants. To the extent a response is deemed required, Defendants admit only that

  Paragraph 25 contains Plaintiff’s characterization of sources he references or cites therein.

         26.    For the Answer to Paragraph 26 of the Complaint, including footnotes 27 and

  28, Defendants assert that no response is required because the allegations are not directed

  at Defendants. To the extent a response is deemed required, Defendants admit only that

  Paragraph 26 contains Plaintiff’s characterization of sources he references or cites therein.

         27.    For the Answer to Paragraph 27 of the Complaint, including footnote 29,

  Defendants assert that no response is required because the allegations are not directed at

  Defendants. To the extent a response is deemed required, Defendants admit only that

  Paragraph 27 contains Plaintiff’s characterization of sources he references or cites therein.




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  B.     Oltmann fabricated a conspiracy.2

         28.    For the Answer to Paragraph 28 of the Complaint, including footnotes 31

  through 34, Defendants assert that no response is required because the allegations are not

  directed at Defendants. To the extent a response is deemed required, Defendants further

  state that they admit only that Paragraph 28 contains Plaintiff’s characterization of sources

  he references or cites therein, that they deny any allegations directed at Defendants as well

  as those matters which inaccurately, incompletely, or out-of-context imply, characterize,

  summarize, or conclude from or about documents and/or communications, including

  documents which must be interpreted as a whole and/or which are the best evidence of

  their own contents, and lack sufficient knowledge or information to form a belief about the

  truth of the remaining allegations, the legal effect of which is a denial.

         29.    For the Answer to Paragraph 29 of the Complaint, including footnotes 35

  through 39, Defendants assert that no response is required because the allegations are not

  directed at Defendants. To the extent a response is deemed required, Defendants further

  state that they admit only that Paragraph 29 contains Plaintiff’s characterization of sources

  he references or cites therein, that they deny any allegations directed at Defendants as well


  2
    For the Answer to this sub-heading, including footnote 30, Defendants assert that no
  response is required because the allegations are not directed at Defendants. To the extent a
  response is deemed required, Defendants further state that they deny, and place Plaintiff to
  his burden to prove, those matters which inaccurately, incompletely, or out-of-context
  imply, characterize, summarize, or conclude from or about documents and/or
  communications, including documents which must be interpreted as a whole and/or which
  are the best evidence of their own contents, and that Defendants lack knowledge or
  information sufficient to form a belief about the truth of the remaining allegations made in
  this sub-heading and footnote 30, the legal effect of which is a denial, and place Plaintiff
  to his burden to prove such allegations.

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  as those matters which inaccurately, incompletely, or out-of-context imply, characterize,

  summarize, or conclude from or about documents and/or communications, including

  documents which must be interpreted as a whole and/or which are the best evidence of

  their own contents, and lack sufficient knowledge or information to form a belief about the

  truth of the remaining allegations, the legal effect of which is a denial.

         30.    For the Answer to Paragraph 30 of the Complaint, including footnotes 40 and

  41, Defendants assert that no response is required because the allegations are not directed

  at Defendants. To the extent a response is deemed required, Defendants further state that

  they admit only that Paragraph 30 contains Plaintiff’s characterization of sources he

  references or cites therein, that they deny any allegations directed at Defendants as well as

  those matters which inaccurately, incompletely, or out-of-context imply, characterize,

  summarize, or conclude from or about documents and/or communications, including

  documents which must be interpreted as a whole and/or which are the best evidence of

  their own contents, and lack sufficient knowledge or information to form a belief about the

  truth of the remaining allegations, the legal effect of which is a denial.

         31.    For the Answer to Paragraph 31 of the Complaint, including footnote 42,

  Defendants assert that no response is required because the allegations are not directed at

  Defendants. To the extent a response is deemed required, Defendants further state that they

  admit only that Paragraph 31 contains Plaintiff’s characterization of sources he references

  or cites therein, that they deny any allegations directed at Defendants as well as those

  matters which inaccurately, incompletely, or out-of-context imply, characterize,

  summarize, or conclude from or about documents and/or communications, including


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   documents which must be interpreted as a whole and/or which are the best evidence of

   their own contents, and lack sufficient knowledge or information to form a belief about the

   truth of the remaining allegations, the legal effect of which is a denial.

          32.    For the Answer to Paragraph 32 of the Complaint, Defendants assert that no

   response is required because the allegations are not directed at Defendants. Defendants

   further assert that no response is required to the allegations therein which contain

   statements and conclusions of law. To the extent a response is deemed required, Defendants

   admit that the ability to have a political opinion in this country is a protected right.

   C.     Oltmann spreads the conspiracy theory.3

          33.    For the Answer to Paragraph 33 of the Complaint, including footnotes 43

   through 52, Defendants assert that no response is required because the allegations are not

   directed at Defendants. To the extent a response is deemed required, Defendants further

   state that they admit only that Paragraph 33 contains Plaintiff’s characterization of sources

   he references or cites therein, that they deny any allegations directed at Defendants as well

   as those matters which inaccurately, incompletely, or out-of-context imply, characterize,

   summarize, or conclude from or about documents and/or communications, including

   documents which must be interpreted as a whole and/or which are the best evidence of




   3
     For the Answer to this sub-heading, Defendants assert that no response is required
   because the allegations are not directed at Defendants. To the extent a response is deemed
   required, Defendants further state that they lack knowledge or information sufficient to
   form a belief about the truth of the allegations made in this sub-heading, the legal effect of
   which is a denial, and place Plaintiff to his burden to prove such allegations.

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   their own contents, and lack sufficient knowledge or information to form a belief about the

   truth of the remaining allegations, the legal effect of which is a denial.

          34.    For the Answer to Paragraph 34 of the Complaint, including footnote 53,

   Defendants assert that no response is required because the allegations are not directed at

   Defendants. To the extent a response is deemed required, Defendants further state that they

   admit only that Paragraph 34 contains Plaintiff’s characterization of sources he references

   or cites therein, that they deny any allegations directed at Defendants as well as those

   matters which inaccurately, incompletely, or out-of-context imply, characterize,

   summarize, or conclude from or about documents and/or communications, including

   documents which must be interpreted as a whole and/or which are the best evidence of

   their own contents, and lack sufficient knowledge or information to form a belief about the

   truth of the remaining allegations, the legal effect of which is a denial.

          35.    For the Answer to Paragraph 35 of the Complaint, including footnotes 54

   through 56, Defendants assert that no response is required because the allegations are not

   directed at Defendants. To the extent a response is deemed required, Defendants further

   state that they admit only that Paragraph 35 contains Plaintiff’s characterization of sources

   he references or cites therein, that they deny any allegations directed at Defendants as well

   as those matters which inaccurately, incompletely, or out-of-context imply, characterize,

   summarize, or conclude from or about documents and/or communications, including

   documents which must be interpreted as a whole and/or which are the best evidence of

   their own contents, and lack sufficient knowledge or information to form a belief about the

   truth of the remaining allegations, the legal effect of which is a denial.


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          36.    For the Answer to Paragraph 36 of the Complaint, including footnotes 57

   through 62, Defendants assert that no response is required because the allegations are not

   directed at Defendants. To the extent a response is deemed required, Defendants admit only

   that Paragraph 36 contains Plaintiff’s characterization of sources he references or cites

   therein, that they deny any allegations directed at Defendants as well as those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude

   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents, and lack

   sufficient knowledge or information to form a belief about the truth of the remaining

   allegations, the legal effect of which is a denial.

          37.    For the Answer to Paragraph 37 of the Complaint, including footnotes 63 and

   64, Defendants assert that no response is required because the allegations are not directed

   at Defendants. To the extent a response is deemed required, Defendants admit only that

   Paragraph 37 contains Plaintiff’s characterization of sources he references or cites therein,

   that they deny any allegations directed at Defendants as well as those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude

   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents, and lack

   sufficient knowledge or information to form a belief about the truth of the remaining

   allegations, the legal effect of which is a denial.

          38.    For the Answer to Paragraph 38 of the Complaint, including footnote 65,

   Defendants assert that no response is required because the allegations are not directed at


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   Defendants. To the extent a response is deemed required, Defendants admit only that

   Paragraph 38 contains Plaintiff’s characterization of sources he references or cites therein,

   that they deny any allegations directed at Defendants as well as those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude

   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents, and lack

   sufficient knowledge or information to form a belief about the truth of the remaining

   allegations, the legal effect of which is a denial.

          39.    Defendants deny the allegations as stated in Paragraph 39 of the Complaint

   and place Plaintiff to his burden to prove such allegations.

   D.     Defendants have a history of promoting false claims of election fraud.4

          40.    For the Answer to Paragraph 40 of the Complaint, including footnotes 66

   through 70, Defendants admit only that Paragraph 40 contains Plaintiff’s characterization

   of sources he references or cites therein, and that Lindell has supported President Trump

   since Summer 2016, when Mr. Trump was then a candidate for President. Defendants deny

   the remaining allegations as stated in Paragraph 40, including those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude

   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents.




   4
    Defendants deny the allegations made in this sub-heading and place Plaintiff to his burden
   to prove such allegations.

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          41.    For the Answer to Paragraph 41 of the Complaint, including footnotes 71 and

   72, Defendants admit only that Paragraph 41 contains Plaintiff’s characterization of

   sources he references or cites therein. Defendants deny the remaining allegations as stated

   in Paragraph 41, including those matters which inaccurately, incompletely, or out-of-

   context imply, characterize, summarize, or conclude from or about documents and/or

   communications, including documents which must be interpreted as a whole and/or which

   are the best evidence of their own contents.

          42.    For the Answer to Paragraph 42 of the Complaint, including footnote 73,

   Defendants admit only that Paragraph 42 contains Plaintiff’s characterizations of sources

   he references or cites therein and that Dominion Voting Systems sent a letter to Lindell on

   or around December 23, 2020. Defendants deny the remaining allegations as stated in

   Paragraph 42 and place Plaintiff to his burden to prove such allegations.

          43.    For the Answer to Paragraph 43 of the Complaint, including footnotes 74 and

   75, Defendants assert that no response is required to the allegations therein which are not

   directed at Defendants and which are redundant, immaterial, impertinent, and/or

   scandalous. To the extent a response is deemed required, Defendants further state that they

   lack knowledge or information sufficient to form a belief about the truth of such

   allegations, the legal effect of which is a denial. To the extent of the allegations directed at

   Defendants, Defendants admit only that Paragraph 43, including footnotes 74 and 75,

   contains Plaintiff’s characterizations of sources he references or cites therein and deny the

   remaining allegations as stated in Paragraph 43, including those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude


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   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents.

         44.    For the Answer to Paragraph 44 of the Complaint, including footnote 76,

   Defendants admit only that Paragraph 44 contains Plaintiff’s characterization of the source

   cited therein and that Dominion sent a letter to Lindell on or around January 8, 2021.

   Defendants deny the remaining allegations as stated in Paragraph 44, including those

   matters which inaccurately, incompletely, or out-of-context imply, characterize,

   summarize, or conclude from or about documents and/or communications, including

   documents which must be interpreted as a whole and/or which are the best evidence of

   their own contents.

         45.    For the Answer to Paragraph 45 of the Complaint, including footnotes 77 and

   78, Defendants assert that no response is required to the allegations therein which are not

   directed at Defendants, and which are redundant, immaterial, impertinent, and/or

   scandalous. Defendants admit only that Paragraph 45 contains Plaintiff’s characterization

   of the sources cited therein, that Lindell met with President Trump and was photographed

   outside the White House on January 15, 2021, and that Lindell claimed on January 18,

   2021 that he was speaking with Sidney Powell at least twice a day. Defendants deny the

   remaining allegations as stated in Paragraph 45, including those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude

   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents.




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          46.    For the Answer to Paragraph 46 of the Complaint, including footnote 79,

   Defendants admit only that Paragraph 46 contains Plaintiff’s characterization of the source

   cited therein and that Dominion sued Lindell and MyPillow. Defendants deny the

   remaining allegations as stated in Paragraph 46, including those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude

   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents.

          47.    For the Answer to Paragraph 47 of the Complaint, including footnotes 80 and

   81, Defendants assert that no response is required to the allegations therein which are not

   directed at Defendants, but to the extent a response is deemed required, Defendants further

   state that they lack knowledge or information sufficient to form a belief about the truth of

   such allegations, the legal effect of which is a denial. To the extent the allegations of

   Paragraph 47, including footnotes 80 and 81, are directed at Defendants, Defendants admit

   only that FrankSpeech is a social media platform, that Paragraph 47 contains Plaintiff’s

   characterization of the sources cited therein, that Lindell appeared as a guest on Oltmann’s

   “Conservative Daily” podcast on or around March 11, 2021, and that the “CD21”

   MyPillow promotional code refers to promotions of MyPillow by the podcast. Defendants

   deny the remaining allegations as stated in Paragraph 47, including those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude

   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents.




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          48.    For the Answer to Paragraph 48 of the Complaint, including footnotes 82

   through 84, Defendants admit only that FrankSpeech is a social media platform, that

   Paragraph 48 contains Plaintiff’s characterization of the source cited therein, and that

   Lindell appeared as a guest on the Eric Metaxas Radio Show on or around March 30, 2021.

   Defendants deny the remaining allegations as stated in Paragraph 48, including those

   matters which inaccurately, incompletely, or out-of-context imply, characterize,

   summarize, or conclude from or about documents and/or communications, including

   documents which must be interpreted as a whole and/or which are the best evidence of

   their own contents.

          49.    For the Answer to Paragraph 49 of the Complaint, including footnotes 85 and

   86, Defendants admit only that Paragraph 49 contains Plaintiff’s characterization of the

   sources cited therein and that frankspeech.com officially launched on April 19, 2021.

   Defendants deny the remaining allegations, including those matters which inaccurately,

   incompletely, or out-of-context imply, characterize, summarize, or conclude from or about

   documents and/or communications, including documents which must be interpreted as a

   whole and/or which are the best evidence of their own contents.

   E.     Defendants defame Dr. Coomer via frankspeech.com.5

          50.    Defendants deny the allegations of Paragraph 50 of the Complaint, including

   footnote 87, and place Plaintiff to his burden to prove such allegations.




   5
    Defendants deny the allegations of this sub-heading and place Plaintiff to his burden to
   prove such allegations.

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          51.    For the Answer to Paragraph 51 of the Complaint, including footnote 88,

   Defendants assert that no response is required to the allegations therein which are not

   directed at Defendants, but to the extent a response is deemed required, Defendants further

   state that they lack knowledge or information sufficient to form a belief about the truth of

   such allegations, the legal effect of which is a denial. To the extent the allegations of

   Paragraph 51, including footnote 88, are directed at Defendants, Defendants admit only

   that Paragraph 51 contains Plaintiff’s characterization of the sources cited therein, that the

   FrankSpeech website includes a wide variety of content, including a 24-hour livestream of

   Lindell TV, links to various news articles and segments produced either by FrankSpeech

   or by various other third-parties, and a podcast page where dozens of podcasts are

   platformed. Defendants deny the remaining allegations as stated in Paragraph 51, including

   those matters which inaccurately, incompletely, or out-of-context imply, characterize,

   summarize, or conclude from or about documents and/or communications, including

   documents which must be interpreted as a whole and/or which are the best evidence of

   their own contents.

          52.    For the Answer to Paragraph 52 of the Complaint, including footnote 89,

   Defendants admit only that Paragraph 52 contains Plaintiff’s characterization of the sources

   cited therein. Defendants deny the remaining allegations as stated in Paragraph 52,

   including those matters which inaccurately, incompletely, or out-of-context imply,

   characterize, summarize, or conclude from or about documents and/or communications,

   including documents which must be interpreted as a whole and/or which are the best

   evidence of their own contents.


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          53.    For the Answer to Paragraph 53 of the Complaint, including footnote 90,

   Defendants deny the allegation that Defendants “published” the cited article. Answering

   further, Defendants assert that no response is required to the allegations in Paragraph 53

   which are not directed at Defendants, but to the extent a response is deemed required,

   Defendants further state that they lack knowledge or information sufficient to form a belief

   about the truth of such allegations, the legal effect of which is a denial. To the extent the

   allegations of Paragraph 53, including footnote 90, are directed at Defendants, Defendants

   admit only that Paragraph 53 contains references or characterizations of the matter

   contained in the source cited therein. Defendants deny those matters which inaccurately,

   incompletely, or out-of-context imply, characterize, summarize, or conclude from or about

   documents and/or communications, including documents which must be interpreted as a

   whole and/or which are the best evidence of their own contents. Defendants lack

   knowledge or information sufficient to form a belief about the truth of the remaining

   allegations, the legal effect of which is a denial.

          54.    For the Answer to Paragraph 54 of the Complaint, including footnote 91,

   Defendants assert that no response is required to the allegations therein which are not

   directed at Defendants, but to the extent a response is deemed required, Defendants further

   state that they lack knowledge or information sufficient to form a belief about the truth of

   such allegations, the legal effect of which is a denial. To the extent the allegations of

   Paragraph 54, including footnote 91, are directed at Defendants, Defendants admit only

   that Paragraph 54 contains references or characterizations of the matter contained in the

   source cited therein. Defendants deny the remaining allegations as stated in Paragraph 54,


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   including those matters which inaccurately, incompletely, or out-of-context imply,

   characterize, summarize, or conclude from or about documents and/or communications,

   including documents which must be interpreted as a whole and/or which are the best

   evidence of their own contents.

          55.    For the Answer to Paragraph 55 of the Complaint, Defendants assert that no

   response is required to the allegations therein which are not directed at Defendants, but to

   the extent a response is deemed required, Defendants further state that they lack knowledge

   or information sufficient to form a belief about the truth of such allegations, the legal effect

   of which is a denial. To the extent the allegations of Paragraph 55 are directed at

   Defendants, Defendants admit only that Paragraph 55 contains references or

   characterizations of the matter contained in the source cited in the preceding Paragraph.

   Defendants deny the remaining allegations as stated in Paragraph 55, including those

   matters which inaccurately, incompletely, or out-of-context imply, characterize,

   summarize, or conclude from or about documents and/or communications, including

   documents which must be interpreted as a whole and/or which are the best evidence of

   their own contents.

          56.    For the Answer to Paragraph 56 of the Complaint, Defendants assert that no

   response is required to the allegations therein which are not directed at Defendants, but to

   the extent a response is deemed required, Defendants further state that they lack knowledge

   or information sufficient to form a belief about the truth of such allegations, the legal effect

   of which is a denial. To the extent the allegations of Paragraph 56 are directed at

   Defendants, Defendants admit only that Paragraph 56 contains references or


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   characterizations of the matter contained in the source cited in Paragraph 54. Defendants

   deny the remaining allegations as stated in Paragraph 56, including those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude

   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents.

          57.    For the Answer to Paragraph 57 of the Complaint, including footnote 92,

   Defendants assert that no response is required to the allegations therein which are not

   directed at Defendants, but to the extent a response is deemed required, Defendants further

   state that they lack knowledge or information sufficient to form a belief about the truth of

   such allegations, the legal effect of which is a denial. To the extent the allegations of

   Paragraph 57, including footnote 92, are directed at Defendants, Defendants admit only

   that Paragraph 57 contains references or characterizations of the matter contained in the

   source cited in Paragraph 54. Defendants deny the remaining allegations as stated in

   Paragraph 57, including those matters which inaccurately, incompletely, or out-of-context

   imply, characterize, summarize, or conclude from or about documents and/or

   communications, including documents which must be interpreted as a whole and/or which

   are the best evidence of their own contents.

          58.    For the Answer to Paragraph 58 of the Complaint, Defendants assert that no

   response is required to the allegations therein which are not directed at Defendants, but to

   the extent a response is deemed required, Defendants further state that they lack knowledge

   or information sufficient to form a belief about the truth of such allegations, the legal effect

   of which is a denial. To the extent the allegations of Paragraph 58 are directed at


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   Defendants, Defendants admit only that Paragraph 58 contains references or

   characterizations of the matter contained in the source cited in Paragraph 54. Defendants

   deny the remaining allegations as stated in Paragraph 58, including those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude

   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents.

          59.    For the Answer to Paragraph 59 of the Complaint, Defendants assert that no

   response is required to the allegations therein which are not directed at Defendants, but to

   the extent a response is deemed required, Defendants further state that they lack knowledge

   or information sufficient to form a belief about the truth of such allegations, the legal effect

   of which is a denial. To the extent the allegations of Paragraph 59 are directed at

   Defendants, Defendants admit only that Paragraph 59 contains references or

   characterizations of the matter contained in the source cited in Paragraph 54. Defendants

   deny the remaining allegations as stated in Paragraph 59, including those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude

   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents.

          60.    For the Answer to Paragraph 60 of the Complaint, Defendants assert that no

   response is required to the allegations therein which are not directed at Defendants, but to

   the extent a response is deemed required, Defendants further state that they lack knowledge

   or information sufficient to form a belief about the truth of such allegations, the legal effect

   of which is a denial. To the extent the allegations of Paragraph 60 are directed at


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   Defendants, Defendants admit only that Paragraph 60 contains references or

   characterizations of the matter contained in the source cited in Paragraph 54. Defendants

   deny the remaining allegations as stated in Paragraph 60, including those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude

   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents.

          61.    For the Answer to Paragraph 61 of the Complaint, Defendants assert that no

   response is required to the allegations therein which are not directed at Defendants, but to

   the extent a response is deemed required, Defendants further state that they lack knowledge

   or information sufficient to form a belief about the truth of such allegations, the legal effect

   of which is a denial. To the extent the allegations of Paragraph 61 are directed at

   Defendants, Defendants admit only that Paragraph 61 contains references or

   characterizations of the matter contained in the source cited in Paragraph 54. Defendants

   deny the remaining allegations as stated in Paragraph 61, including those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude

   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents.

          62.    For the Answer to Paragraph 62 of the Complaint, including footnote 93,

   Defendants assert that no response is required to the allegations therein which are not

   directed at Defendants, but to the extent a response is deemed required, Defendants further

   state that they lack knowledge or information sufficient to form a belief about the truth of

   such allegations, the legal effect of which is a denial. To the extent the allegations of


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   Paragraph 62, including footnote 93, are directed at Defendants, Defendants admit that

   Paragraph 62 contains references or characterizations of the matter contained in the sources

   cited therein. Defendants further admit that Newsmax had been sued in conjunction with

   various other defendants in Coomer v. Donald J. Trump for President, Inc. et. al. and that

   Newsmax reached a settlement agreement with Plaintiff. Defendants deny the remaining

   allegations as stated in Paragraph 62, including those matters which inaccurately,

   incompletely, or out-of-context imply, characterize, summarize, or conclude from or about

   documents and/or communications, including documents which must be interpreted as a

   whole and/or which are the best evidence of their own contents.

          63.    For the Answer to Paragraph 63 of the Complaint, including footnote 94,

   Defendants admit only that Paragraph 63 contains references or characterizations of the

   matter contained in the source cited therein. Defendants deny the remaining allegations as

   stated in Paragraph 63, including those matters which inaccurately, incompletely, or out-

   of-context imply, characterize, summarize, or conclude from or about documents and/or

   communications, including documents which must be interpreted as a whole and/or which

   are the best evidence of their own contents.

          64.    Defendants deny the allegations as stated in Paragraph 64 of the Complaint

   and place Plaintiff to his burden to prove such allegations.

          65.    Defendants deny the allegations of Paragraph 65 of the Complaint, including

   footnote 95, and place Plaintiff to his burden to prove such allegations.

          66.    For the Answer to Paragraph 66 of the Complaint, including footnotes 96

   through 99, Defendants assert that no response is required to the allegations therein which


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   are not directed at Defendants, but to the extent a response is deemed required, Defendants

   further state that they lack knowledge or information sufficient to form a belief about the

   truth of such allegations, the legal effect of which is a denial. To the extent the allegations

   of Paragraph 66, including footnotes 96 through 99, are directed at Defendants, Defendants

   admit only that Paragraph 66 contains references or characterizations of the matter

   contained in the sources cited therein. Defendants deny the remaining allegations as stated

   in Paragraph 66, including those matters which inaccurately, incompletely, or out-of-

   context imply, characterize, summarize, or conclude from or about documents and/or

   communications, including documents which must be interpreted as a whole and/or which

   are the best evidence of their own contents.

          67.    For the Answer to Paragraph 67 of the Complaint, including footnotes 100

   and 101, Defendants deny the allegation that “Defendants’ publications also appear to

   violate Frankspeech’s own posted ‘Terms of Use’…” Answering further, Defendants admit

   only that Paragraph 67 contains references or characterizations of the matter contained in

   the source cited therein. Defendants deny the remaining allegations as stated in Paragraph

   67, including those matters which inaccurately, incompletely, or out-of-context imply,

   characterize, summarize, or conclude from or about documents and/or communications,

   including documents which must be interpreted as a whole and/or which are the best

   evidence of their own contents.

          68.    For the Answer to Paragraph 68 of the Complaint, including footnote 102,

   Defendants admit only that Paragraph 68 contains references or characterizations of the

   matter contained in the source cited therein. Defendants deny the remaining allegations as


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   stated in Paragraph 68, including those matters which inaccurately, incompletely, or out-

   of-context imply, characterize, summarize, or conclude from or about documents and/or

   communications, including documents which must be interpreted as a whole and/or which

   are the best evidence of their own contents.

          69.    For the Answer to Paragraph 69 of the Complaint, including footnote 103,

   Defendants deny the allegation that “[t]he defamatory content produced and published by

   Frankspeech also violates its own published ‘Community Standards.’” Answering further,

   Defendants admit only that Paragraph 69 contains references or characterizations of the

   matter contained in the source cited therein. Defendants deny the remaining allegations as

   stated in Paragraph 69, including those matters which inaccurately, incompletely, or out-

   of-context imply, characterize, summarize, or conclude from or about documents and/or

   communications, including documents which must be interpreted as a whole and/or which

   are the best evidence of their own contents.

          70.    For the Answer to Paragraph 70 of the Complaint, Defendants assert that no

   response is required to the allegations therein which are not directed at Defendants, but to

   the extent a response is deemed required, Defendants further state that they lack knowledge

   or information sufficient to form a belief about the truth of such allegations, the legal effect

   of which is a denial. To the extent the allegations of Paragraph 70 are directed at

   Defendants, Defendants admit only that Paragraph 70 contains references or

   characterizations of the matter contained in the source referenced therein. Defendants deny

   the remaining allegations stated in Paragraph 70, including those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude


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   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents.

          71.    Defendants deny the allegations as stated in Paragraph 71 of the Complaint

   and place Plaintiff to his burden to prove such allegations.

   F.     Defendants defame Dr. Coomer at the “Cyber Symposium” in Sioux Falls, South
          Dakota.6

          72.    For the Answer to Paragraph 72 of the Complaint, including footnote 104,

   Defendants admit only that Lindell hosted a Cyber Symposium in Sioux Falls, South

   Dakota in August 2021 and that Lindell posted a videotaped advertisement for the

   Symposium. Defendants deny the remaining allegations as stated in Paragraph 72,

   including those matters which inaccurately, incompletely, or out-of-context imply,

   characterize, summarize, or conclude from or about documents and/or communications,

   including documents which must be interpreted as a whole and/or which are the best

   evidence of their own contents.

          73.    For the Answer to Paragraph 73 of the Complaint, including footnotes 105

   through 107, Defendants admit only that Lindell appeared on OAN on July 2, 2021.

   Defendants deny the remaining allegations as stated in Paragraph 73, including those

   matters which inaccurately, incompletely, or out-of-context imply, characterize,

   summarize, or conclude from or about documents and/or communications, including




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    Defendants deny the allegations of this sub-heading and place Plaintiff to his burden to
   prove such allegations.

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   documents which must be interpreted as a whole and/or which are the best evidence of

   their own contents.

          74.    For the Answer to Paragraph 74 of the Complaint, including footnotes 108

   through 110, Defendants admit only that Paragraph 74 contains references or

   characterizations of the matter contained in the source referenced therein. Defendants deny

   the remaining allegations as stated in Paragraph 74, including those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude

   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents.

          75.    For the Answer to Paragraph 75 of the Complaint, including footnotes 111

   and 112, Defendants admit only that Paragraph 75 contains references or characterizations

   of the matter contained in the source referenced therein. Defendants deny the remaining

   allegations as stated in Paragraph 75, including those matters which inaccurately,

   incompletely, or out-of-context imply, characterize, summarize, or conclude from or about

   documents and/or communications, including documents which must be interpreted as a

   whole and/or which are the best evidence of their own contents.

          76.    For the Answer to Paragraph 76 of the Complaint, Defendants admit only

   that local, state, and federal legislators were invited to the Symposium. In response to the

   allegation that “[t]hese legislators are some of the same individuals that Dr. Coomer

   interacted with,” Defendants state that they lack knowledge or information sufficient to

   form a belief about the truth of such allegations, the legal effect of which is a denial.




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   Defendants deny the remaining allegations as stated in Paragraph 76 and place Plaintiff to

   his burden to prove such allegations.

          77.    For the Answer to Paragraph 77 of the Complaint, including footnotes 113

   through 116, Defendants assert that no response is required to the allegations therein which

   are not directed at Defendants, but to the extent a response is deemed required, Defendants

   further state that they lack knowledge or information sufficient to form a belief about the

   truth of such allegations, the legal effect of which is a denial. To the extent the allegations

   of Paragraph 77, including footnotes 113 through 116, are directed at Defendants,

   Defendants admit only that Paragraph 77 contains references or characterizations of the

   matter contained in the sources referenced therein and that Peters and Smith were present,

   and Watkins appeared on video, at the Cyber Symposium. Defendants deny the remaining

   allegations as stated in Paragraph 77, including those matters which inaccurately,

   incompletely, or out-of-context imply, characterize, summarize, or conclude from or about

   documents and/or communications, including documents which must be interpreted as a

   whole and/or which are the best evidence of their own contents.

          78.    Defendants deny the allegations as stated in Paragraph 78 of the Complaint

   and place Plaintiff to his burden to prove such allegations.

          79.    For the Answer to Paragraph 79 of the Complaint, including footnotes 117

   through 123, Defendants assert that no response is required to the allegations therein which

   are not directed at Defendants, but to the extent a response is deemed required, Defendants

   further state that they lack knowledge or information sufficient to form a belief about the

   truth of such allegations, the legal effect of which is a denial. To the extent the allegations


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   of Paragraph 79, including footnotes 117 through 123, are directed at Defendants,

   Defendants admit only that Paragraph 79 contains references or characterizations of the

   matter contained in the sources referenced therein. Defendants deny the remaining

   allegations, including those matters which inaccurately, incompletely, or out-of-context

   imply, characterize, summarize, or conclude from or about documents and/or

   communications, including documents which must be interpreted as a whole and/or which

   are the best evidence of their own contents.

          80.    For the Answer to Paragraph 80 of the Complaint, including footnotes 124

   through 126, Defendants assert that no response is required to the allegations therein which

   are not directed at Defendants, but to the extent a response is deemed required, Defendants

   further state that they lack knowledge or information sufficient to form a belief about the

   truth of such allegations, the legal effect of which is a denial. To the extent the allegations

   of Paragraph 80, including footnotes 124 through 126, are directed at Defendants,

   Defendants admit only that Paragraph 80 contains references or characterizations of the

   matter contained in the sources referenced therein. Defendants deny the remaining

   allegations as stated in Paragraph 80, including those matters which inaccurately,

   incompletely, or out-of-context imply, characterize, summarize, or conclude from or about

   documents and/or communications, including documents which must be interpreted as a

   whole and/or which are the best evidence of their own contents.

          81.    For the Answer to Paragraph 81 of the Complaint, including footnotes 127

   and 128, Defendants admit only that the order denying the motion to dismiss the complaint

   of Dominion Voting Systems by MyPillow and Lindell was issued during the Cyber


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   Symposium and that Paragraph 81 contains references or characterizations of the matter

   contained in the sources referenced therein. Defendants deny the remaining allegations as

   stated in Paragraph 81, including those matters which inaccurately, incompletely, or out-

   of-context imply, characterize, summarize, or conclude from or about documents and/or

   communications, including documents which must be interpreted as a whole and/or which

   are the best evidence of their own contents.

          82.    Defendants deny the allegations of Paragraph 82 of the Complaint and place

   Plaintiff to his burden to prove such allegations.

          83.    For the Answer to Paragraph 83 of the Complaint, Defendants assert that no

   response is required to the allegations therein which are not directed at Defendants, but to

   the extent a response is deemed required, Defendants further state that they lack knowledge

   or information sufficient to form a belief about the truth of such allegations, the legal effect

   of which is a denial. To the extent the allegations are directed at Defendants, Defendants

   admit only that Oltmann, Clements, Waldron, Colbeck, and Merritt appeared at the

   Symposium. Defendants deny the remaining allegations as stated in Paragraph 83 and place

   Plaintiff to his burden to prove such allegations.

          84.    For the Answer to Paragraph 84 of the Complaint, including footnote 129,

   Defendants assert that no response is required to the allegations therein which are not

   directed at Defendants, but to the extent a response is deemed required, Defendants further

   state that they lack knowledge or information sufficient to form a belief about the truth of

   such allegations, the legal effect of which is a denial. To the extent the allegations of

   Paragraph 84, including footnote 129, are directed at Defendants, Defendants admit only


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   that Paragraph 84 contains references or characterizations of the matter contained in the

   sources referenced therein. Defendants deny the remaining allegations, including those

   matters which inaccurately, incompletely, or out-of-context imply, characterize,

   summarize, or conclude from or about documents and/or communications, including

   documents which must be interpreted as a whole and/or which are the best evidence of

   their own contents.

          85.    For the Answer to Paragraph 85 of the Complaint, Defendants assert that no

   response is required to the allegations therein which are not directed at Defendants, but to

   the extent a response is deemed required, Defendants further state that they lack knowledge

   or information sufficient to form a belief about the truth of such allegations, the legal effect

   of which is a denial. To the extent the allegations of Paragraph 85 are directed at

   Defendants, Defendants admit only that Paragraph 85 contains references or

   characterizations of the matter contained in the sources referenced therein. Defendants

   deny the remaining allegations as stated in Paragraph 85, including those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude

   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents.

          86.    For the Answer to Paragraph 86 of the Complaint, Defendants assert that no

   response is required to the allegations therein which are not directed at Defendants, but to

   the extent a response is deemed required, Defendants further state that they lack knowledge

   or information sufficient to form a belief about the truth of such allegations, the legal effect

   of which is a denial. To the extent the allegations of Paragraph 86 are directed at


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   Defendants, Defendants admit only that Paragraph 86 contains references or

   characterizations of the matter contained in the sources referenced therein. Defendants

   deny the remaining allegations as stated in Paragraph 86, including those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude

   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents.

          87.    For the Answer to Paragraph 87 of the Complaint, Defendants deny the

   allegation that Defendants published a presentation by Clements. Answering further,

   Defendants assert that no response is required to the allegations therein which are not

   directed at Defendants, but to the extent a response is deemed required, Defendants further

   state that they lack knowledge or information sufficient to form a belief about the truth of

   such allegations, the legal effect of which is a denial. To the extent the allegations of

   Paragraph 87 are directed at Defendants, Defendants admit only that Paragraph 87 contains

   references or characterizations of the matter contained in the sources referenced therein.

   Defendants deny the remaining allegations as stated in Paragraph 87, including those

   matters which inaccurately, incompletely, or out-of-context imply, characterize,

   summarize, or conclude from or about documents and/or communications, including

   documents which must be interpreted as a whole and/or which are the best evidence of

   their own contents.

          88.    For the Answer to Paragraph 88 of the Complaint, Defendants assert that no

   response is required to the allegations therein which are not directed at Defendants, but to

   the extent a response is deemed required, Defendants further state that they lack knowledge


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   or information sufficient to form a belief about the truth of such allegations, the legal effect

   of which is a denial. To the extent the allegations of Paragraph 88 are directed at

   Defendants, Defendants admit only that Paragraph 88 contains references or

   characterizations of the matter contained in the sources referenced therein. Defendants

   deny the remaining allegations as stated in Paragraph 88, including those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude

   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents.

          89.    For the Answer to Paragraph 89 of the Complaint, Defendants assert that no

   response is required to the allegations therein which are not directed at Defendants, but to

   the extent a response is deemed required, Defendants further state that they lack knowledge

   or information sufficient to form a belief about the truth of such allegations, the legal effect

   of which is a denial. To the extent the allegations of Paragraph 89 are directed at

   Defendants, Defendants admit only that Paragraph 89 contains references or

   characterizations of the matter contained in the sources referenced therein. Defendants

   deny the remaining allegations as stated in Paragraph 89, including those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude

   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents.

          90.    For the Answer to Paragraph 90 of the Complaint, Defendants assert that no

   response is required to the allegations therein which are not directed at Defendants, but to

   the extent a response is deemed required, Defendants further state that they lack knowledge


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   or information sufficient to form a belief about the truth of such allegations, the legal effect

   of which is a denial. To the extent the allegations of Paragraph 90 are directed at

   Defendants, Defendants admit only that Paragraph 90 contains references or

   characterizations of the matter contained in the sources referenced therein. Defendants

   deny the remaining allegations as stated in Paragraph 90, including those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude

   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents.

          91.    For the Answer to Paragraph 91 of the Complaint, Defendants assert that no

   response is required to the allegations therein which are not directed at Defendants, but to

   the extent a response is deemed required, Defendants further state that they lack knowledge

   or information sufficient to form a belief about the truth of such allegations, the legal effect

   of which is a denial. To the extent the allegations of Paragraph 91 are directed at

   Defendants, Defendants admit only that Paragraph 91 contains references or

   characterizations of the matter contained in the sources referenced therein. Defendants

   deny the remaining allegations as stated in Paragraph 91, including those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude

   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents.

          92.    Defendants deny the allegations as stated in Paragraph 92 of the Complaint

   and place Plaintiff to his burden to prove such allegations.




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          93.    For the Answer to Paragraph 93 of the Complaint, Defendants admit only

   that the FrankSpeech website had 13,986,053 pageviews from August 10–12, 2021 and

   that this was the most pageviews FrankSpeech had had over any three-day period up to that

   time. In response to the allegation that “no subsequent 3-day period has ever reached

   anything comparable to the user engagement that FrankSpeech enjoyed during the three

   days of the Symposium, Defendants state that they lack knowledge or information

   sufficient to form a belief about the truth of the allegation, the legal effect of which is a

   denial. Defendants deny the remaining allegations.

          94.    For the Answer to Paragraph 94 of the Complaint, Defendants admit only

   that from August 2–15, 2021, the Frank33 promo code generated approximately

   $1,832,500 in revenue for MyPillow, with approximately $850,100 of that sum accruing

   from August 10–12. Defendants deny the remaining allegations as stated in Paragraph 94

   and place Plaintiff to his burden to prove such allegations.

          95.    For the Answer to Paragraph 95 of the Complaint, Defendants admit only

   that Paragraph 95 contains Plaintiff’s characterization of statements made by Lindell at the

   Symposium and that Lindell informed the Symposium audience that they could use the

   promo code “Audit” to save up to 66% when purchasing MyPillow products. Defendants

   deny the remaining allegations as stated in Paragraph 95, including those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude

   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents.




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          96.    Defendants admit that MyPillow customers utilizing the promo code “Audit”

   had purchased at least $442,449 in MyPillow products as of August 13, 2021. Defendants

   deny that the use of such promo code related to Plaintiff or any of Lindell’s statements

   about Plaintiff.

          97.    Defendants deny the allegations as stated in Paragraph 97 of the Complaint

   and place Plaintiff to his burden to prove such allegations.

   G.     Lindell continues to target Colorado with election falsehoods.7

          98.    For the Answer to Paragraph 98 of the Complaint, including footnotes 130

   and 131, Defendants assert that no response is required to the allegations therein which are

   not directed at Defendants and which are redundant, immaterial, impertinent, and/or

   scandalous. To the extent a response is deemed required, Defendants further state that they

   lack knowledge or information sufficient to form a belief about the truth of such

   allegations, the legal effect of which is a denial. To the extent the allegations of Paragraph

   98, including footnotes 130 and 131, are directed at Defendants, Defendants admit only

   that Paragraph 98 contains references or characterizations of the matter contained in the

   sources referenced therein. Defendants deny the remaining allegations as stated in

   Paragraph 98, including those matters which inaccurately, incompletely, or out-of-context

   imply, characterize, summarize, or conclude from or about documents and/or

   communications, including documents which must be interpreted as a whole and/or which

   are the best evidence of their own contents.


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    Defendants deny the allegations of this sub-heading and place Plaintiff to his burden to
   prove such allegations.

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          99.    For the Answer to Paragraph 99 of the Complaint, including footnotes 132

   through 134, Defendants assert that no response is required to the allegations therein which

   are not directed at Defendants and which are redundant, immaterial, impertinent, and/or

   scandalous. To the extent a response is deemed required, Defendants further state that they

   lack knowledge or information sufficient to form a belief about the truth of such

   allegations, the legal effect of which is a denial. To the extent the allegations of Paragraph

   99, including footnotes 132 through 134, are directed at Defendants, Defendants admit only

   that Paragraph 99 contains references or characterizations of the matter contained in the

   sources referenced therein. Defendants deny the remaining allegations as stated in

   Paragraph 99, including those matters which inaccurately, incompletely, or out-of-context

   imply, characterize, summarize, or conclude from or about documents and/or

   communications, including documents which must be interpreted as a whole and/or which

   are the best evidence of their own contents.

   H.     Defendants’ post-lawsuit defamation blitz.8

          100.   For the Answer to Paragraph 100 of the Complaint, Defendants admit only

   that Plaintiff filed his lawsuit in Denver District Court on April 4, 2022. Defendants deny

   the remaining allegations as stated in Paragraph 100 and place Plaintiff to his burden to

   prove such allegations.

          101.   For the Answer to Paragraph 101 of the Complaint, including footnote 135,

   Defendants admit only that they were served with Plaintiff’s lawsuit on the steps of the


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    Defendants deny the allegations of this sub-heading and place Plaintiff to his burden to
   prove such allegations.

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   Capitol and that Defendant Lindell reviewed the original complaint. In response to the

   allegation that “Lindell was […] escorted through the crowd by Oltmann’s personal

   bodyguard and occasional Conservative Daily co-host, Gregory Papas,” Defendants state

   that they lack knowledge or information sufficient to form a belief about the truth of the

   allegation, the legal effect of which is a denial. Defendants deny the remaining allegations

   as stated in Paragraph 101 and place Plaintiff to his burden to prove such allegations.

          102.   For the Answer to Paragraph 102 of the Complaint, including footnote 136,

   Defendants deny that Defendant Lindell asserted and/or promulgated any defamatory

   falsehoods and place Plaintiff to his burden to prove such allegations. Answering further,

   Defendants admit only that Paragraph 102 contains references or characterizations of the

   matter contained in the sources cited therein. Defendants deny the remaining allegations as

   stated in Paragraph 102, including those matters which inaccurately, incompletely, or out-

   of-context imply, characterize, summarize, or conclude from or about documents and/or

   communications, including documents which must be interpreted as a whole and/or which

   are the best evidence of their own contents.

          103.   For the Answer to Paragraph 103 of the Complaint, including footnote 137,

   Defendants deny that FrankSpeech and/or Lindell published “defamatory tirade against Dr.

   Coomer” and place Plaintiff to his burden to prove such allegations. Answering further,

   Defendants admit only that Paragraph 103 contains references or characterizations of the

   matter contained in the source cited therein. Defendants deny the remaining allegations as

   stated in Paragraph 103, including those matters which inaccurately, incompletely, or out-

   of-context imply, characterize, summarize, or conclude from or about documents and/or


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   communications, including documents which must be interpreted as a whole and/or which

   are the best evidence of their own contents.

          104.   For the Answer to Paragraph 104 of the Complaint, including footnotes 138

   and 139, Defendants admit only that Paragraph 104 contains Plaintiff’s characterizations

   of a statement made by Lindell. Defendants deny the remaining allegations, including those

   matters which inaccurately, incompletely, or out-of-context imply, characterize,

   summarize, or conclude from or about documents and/or communications, including

   documents which must be interpreted as a whole and/or which are the best evidence of

   their own contents. Defendants deny that any of the statements identified in Paragraph 104,

   including subparagraphs (a)–(s), are defamatory and place Plaintiff to his burden of proof.

          105.   For the Answer to Paragraph 105 of the Complaint, Defendants admit only

   that Defendant Lindell “means every word, and he intends for his audience to know that

   he means what he is saying.” Defendants deny the remaining allegations as stated in

   Paragraph 105 and place Plaintiff to his burden to prove such allegations.

          106.   For the Answer to Paragraph 106 of the Complaint, Defendants deny that a

   “defamatory exchange took place.” Answering further, Defendants admit only that

   Paragraph 106 contains Plaintiff’s characterizations of statements made by Lindell and

   Bannon. Defendants deny the remaining allegations as stated in Paragraph 106, including

   those matters which inaccurately, incompletely, or out-of-context imply, characterize,

   summarize, or conclude from or about documents and/or communications, including

   documents which must be interpreted as a whole and/or which are the best evidence of

   their own contents.


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          107.   For the Answer to Paragraph 107 of the Complaint, Defendants deny the

   allegation “[t]hat Lindell would so confidently publish such utter nonsense further confirms

   his reckless disregard for the truth in order to sustain his preconceived narrative that the

   election was rigged.” Defendants lack knowledge or information sufficient to form a belief

   about the truth of the remaining allegations as stated in Paragraph 107, the legal effect of

   which is a denial.

          108.   For the Answer to Paragraph 108 of the Complaint, including footnote 140,

   Defendants admit only that Paragraph 108 contains Plaintiff’s characterizations of

   statements made by Lindell. Defendants deny the remaining allegations as stated in

   Paragraph 108 and place Plaintiff to his burden to prove such allegations.

          109.   For the Answer to Paragraph 109 of the Complaint, Defendants admit only

   that Paragraph 109 contains Plaintiff’s characterizations of statements made by Metaxas.

   Defendants assert that no response that no response is required to the allegations in

   Paragraph 109 which are not directed at Defendants, but to the extent a response is deemed

   required, Defendants further state that they lack knowledge or information sufficient to

   form a belief about the truth of such allegations, the legal effect of which is a denial.

   Defendants deny the remaining allegations, including those matters which inaccurately,

   incompletely, or out-of-context imply, characterize, summarize, or conclude from or about

   documents and/or communications, including documents which must be interpreted as a

   whole and/or which are the best evidence of their own contents.

          110.   For the Answer to Paragraph 110 of the Complaint, Defendants admit only

   that on April 8, 2022, Lindell’s MyPillow email address received and replied to the email


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   referenced therein. Defendants deny those matters which inaccurately, incompletely, or

   out-of-context imply, characterize, summarize, or conclude from or about documents

   and/or communications, including documents which must be interpreted as a whole and/or

   which are the best evidence of their own contents. Defendants lack knowledge or

   information sufficient to form a belief about the truth of the remaining allegations in

   Paragraph 110, the legal effect of which is a denial.

          111.   For the Answer to Paragraph 111 of the Complaint, Defendants admit only

   that the email referenced in Paragraph 110 contained attachments. Defendants deny the

   remaining allegations in Paragraph 111 as stated, including those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude

   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents.

          112.   For the Answer to Paragraph 112 of the Complaint, Defendants assert that

   no response is required to the allegations in Paragraph 112 which are not directed at

   Defendants, but to the extent a response is deemed required, Defendants further state that

   they lack knowledge or information sufficient to form a belief about the truth of such

   allegations, the legal effect of which is a denial. Defendants deny those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude

   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents. Defendants

   lack knowledge or information sufficient to form a belief about the truth of the remaining

   allegations in Paragraph 112, the legal effect of which is a denial.


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          113.   For the Answer to Paragraph 113 of the Complaint, Defendants assert that

   no response is required to the allegations in Paragraph 113 which are not directed at

   Defendants, but to the extent a response is deemed required, Defendants further state that

   they lack knowledge or information sufficient to form a belief about the truth of such

   allegations, the legal effect of which is a denial. Defendants deny those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude

   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents. Defendants

   lack knowledge or information sufficient to form a belief about the truth of the remaining

   allegations in Paragraph 113, the legal effect of which is a denial.

          114.   For the Answer to Paragraph 114 of the Complaint, Defendants assert that

   no response is required because the allegations therein rely upon false assumptions or

   characterizations, rendering Paragraph 114 purely hypothetical. To the extent that

   Paragraph 114 is deemed to require a response, Defendants deny having any knowledge of

   the contents of the referenced spreadsheet prior to the time Plaintiff’s counsel showed the

   spreadsheet to Defendant Lindell and further deny having any duty to make any report to

   law enforcement regarding the spreadsheet referenced in Paragraph 114.

          115.   For the Answer to Paragraph 115 of the Complaint, Defendants admit only

   that Paragraph 115 contains Plaintiff’s characterizations of Lindell’s interview on RSBN

   on May 6, 2022. Defendants deny the remaining allegations as stated in Paragraph 115,

   including those matters which inaccurately, incompletely, or out-of-context imply,

   characterize, summarize, or conclude from or about documents and/or communications,


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   including documents which must be interpreted as a whole and/or which are the best

   evidence of their own contents. Defendants specifically deny the allegations as stated in

   Paragraph 115 that Lindell was acting within the scope of his employment of and/or role

   at MyPillow and place Plaintiff to his burden to prove such allegations.

         116.   For the Answer to Paragraph 116 of the Complaint, including footnote 141,

   Defendants admit only that Paragraph 116 contains Plaintiff’s characterizations of

   Lindell’s appearance on the “Conservative Daily” podcast on May 23, 2022. Defendants

   deny the remaining allegations as stated in Paragraph 116, including those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude

   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents.

         117.   For the Answer to Paragraph 117 of the Complaint, including footnote 142,

   Defendants admit only that Paragraph 117 contains Plaintiff’s characterizations of

   Lindell’s appearance on the “Conservative Daily” podcast on July 13, 2022 and at the

   Moment of Truth Summit which occurred on August 20–21, 2022. Defendants deny the

   remaining allegations as stated in Paragraph 117, including those matters which

   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude

   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents.

         118.   For the Answer to Paragraph 118 of the Complaint, Defendants admit only

   that Paragraph 118 contains Plaintiff’s characterizations of an agreement between

   FrankSpeech and Pidoxa. Defendants admit they are aware Oltmann is affiliated with


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   Pidoxa. Defendants deny the remaining allegations as stated in Paragraph 118, including

   those matters which inaccurately, incompletely, or out-of-context imply, characterize,

   summarize, or conclude from or about documents and/or communications, including

   documents which must be interpreted as a whole and/or which are the best evidence of

   their own contents.

          119.   For the Answer to Paragraph 119 of the Complaint, including footnote 143,

   Defendants assert that no response is required to the allegations therein which are not

   directed at Defendants, but to the extent a response is deemed required, Defendants further

   state that they lack knowledge or information sufficient to form a belief about the truth of

   such allegations, the legal effect of which is a denial. To the extent the allegations of

   Paragraph 119, including footnote 143, are directed at Defendants, Defendants admit only

   that Paragraph 119 contains Plaintiff’s characterizations of an interview of Peters on

   Brannon Howse Live on September 7, 2022. Defendants deny the remaining allegations as

   stated in Paragraph 119, including those matters which inaccurately, incompletely, or out-

   of-context imply, characterize, summarize, or conclude from or about documents and/or

   communications, including documents which must be interpreted as a whole and/or which

   are the best evidence of their own contents. Defendants specifically deny the allegation that

   FrankSpeech “published another interview defaming Dr. Coomer” and place Plaintiff to

   his burden to prove this allegation.

          120.   For the Answer to Paragraph 120 of the Complaint, Defendants assert that

   no response is required to the allegations therein which are not directed at Defendants, but

   to the extent a response is deemed required, Defendants further state that they lack


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   knowledge or information sufficient to form a belief about the truth of such allegations, the

   legal effect of which is a denial. To the extent the allegations of Paragraph 120 are directed

   at Defendants, Defendants admit only that Paragraph 120 contains Plaintiff’s

   characterizations of an interview of Peters on Brannon Howse Live on September 7, 2022.

   Defendants deny the remaining allegations as stated in Paragraph 120, including those

   matters which inaccurately, incompletely, or out-of-context imply, characterize,

   summarize, or conclude from or about documents and/or communications, including

   documents which must be interpreted as a whole and/or which are the best evidence of

   their own contents.

             121.   For the Answer to Paragraph 121 of the Complaint, Defendants assert that

   no response is required because the allegations therein are not directed at Defendants, but

   to the extent a response is deemed required, Defendants further state that they deny those

   matters which inaccurately, incompletely, or out-of-context imply, characterize,

   summarize, or conclude from or about documents and/or communications, including

   documents which must be interpreted as a whole and/or which are the best evidence of

   their own contents, and that they lack knowledge or information sufficient to form a belief

   about the truth of remaining allegations of Paragraph 121, the legal effect of which is a

   denial.

             122.   Defendants deny the allegations as stated in Paragraph 122 of the Complaint

   as stated and place Plaintiff to his burden to prove such allegations.

             123.   For the Answer to Paragraph 123 of the Complaint, Defendants assert that

   no response is required because the allegations therein are not directed at Defendants, but


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   to the extent a response is deemed required, Defendants further state that they deny those

   matters which inaccurately, incompletely, or out-of-context imply, characterize,

   summarize, or conclude from or about documents and/or communications, including

   documents which must be interpreted as a whole and/or which are the best evidence of

   their own contents, and that they lack knowledge or information sufficient to form a belief

   about the truth of remaining allegations of Paragraph 123, the legal effect of which is a

   denial.

             124.   For the Answer to Paragraph 124 of the Complaint, including footnotes 144

   and 145, Defendants assert that no response is required to the allegations of Paragraph 124

   which are not directed at Defendants, but to the extent a response is deemed required,

   Defendants further state that they lack knowledge or information sufficient to form a belief

   about the truth of such allegations, the legal effect of which is a denial. To the extent the

   allegations of Paragraph 124, including footnotes 144 and 145, are directed at Defendants,

   Defendants admit only that Paragraph 124 contains Plaintiff’s characterizations of the

   sources identified therein, that on September 13, 2022, the FBI seized Lindell’s cell phone

   at a Hardee’s Restaurant in Minnesota. Defendants deny the remaining allegations as stated

   in Paragraph 124, including those matters which inaccurately, incompletely, or out-of-

   context imply, characterize, summarize, or conclude from or about documents and/or

   communications, including documents which must be interpreted as a whole and/or which

   are the best evidence of their own contents.

             125.   For the Answer to Paragraph 125 of the Complaint, including footnote 146,

   Defendants admit only that Paragraph 125 contains Plaintiff’s characterizations of


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   Oltmann’s statements on the Conservative Daily Podcast on September 15, 2022.

   Defendants assert that no response is required to the allegations Paragraph 125 which are

   not directed at Defendants, but to the extent a response is deemed required, Defendants

   further state that they lack knowledge or information sufficient to form a belief about the

   truth of such allegations, the legal effect of which is a denial. Defendants deny the

   remaining allegations, including those matters which inaccurately, incompletely, or out-of-

   context imply, characterize, summarize, or conclude from or about documents and/or

   communications, including documents which must be interpreted as a whole and/or which

   are the best evidence of their own contents.

          126.   Defendants deny the allegations as stated Paragraph 126 of the Complaint,

   including deny those matters which inaccurately, incompletely, or out-of-context imply,

   characterize, summarize, or conclude from or about documents and/or communications,

   including documents which must be interpreted as a whole and/or which are the best

   evidence of their own contents.

          127.   Defendants deny the allegations as stated in Paragraph 127 of the Complaint

   and place Plaintiff to his burden to prove such allegations.

          128.   For the Answer to Paragraph 128 of the Complaint, including footnote 147,

   Defendants admit only that Paragraph 128 contains Plaintiff’s characterizations of

   Lindell’s statements in an interview with Brannon Howse on the Lindell Report on March

   10, 2023. Defendants deny the remaining allegations as stated in Paragraph 128, including

   those matters which inaccurately, incompletely, or out-of-context imply, characterize,

   summarize, or conclude from or about documents and/or communications, including


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   documents which must be interpreted as a whole and/or which are the best evidence of

   their own contents. Defendants specifically deny the allegation as stated in Paragraph 128

   that Defendant Lindell acted as an agent of MyPillow and place Plaintiff to his burden to

   prove such allegations.

         129.   For the Answer to Paragraph 129 of the Complaint, Defendants admit only

   that Paragraph 129 contains Plaintiff’s characterizations of Lindell’s statements.

   Defendants deny the remaining allegations as stated in Paragraph 129, including those

   matters which inaccurately, incompletely, or out-of-context imply, characterize,

   summarize, or conclude from or about documents and/or communications, including

   documents which must be interpreted as a whole and/or which are the best evidence of

   their own contents.

         130.   For the Answer to Paragraph 130 of the Complaint, Defendants admit only

   that Paragraph 130 contains Plaintiff’s characterizations of Lindell’s statements.

   Defendants deny the remaining allegations as stated in Paragraph 130, including those

   matters which inaccurately, incompletely, or out-of-context imply, characterize,

   summarize, or conclude from or about documents and/or communications, including

   documents which must be interpreted as a whole and/or which are the best evidence of

   their own contents.

         131.   For the Answer to Paragraph 131 of the Complaint, Defendants admit only

   that MyPillow products are of high quality and available at low prices, and that Paragraph

   131 contains Plaintiff’s characterizations of Lindell’s and Howse’s statements. Defendants

   deny the remaining allegations as stated in Paragraph 131, including those matters which


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   inaccurately, incompletely, or out-of-context imply, characterize, summarize, or conclude

   from or about documents and/or communications, including documents which must be

   interpreted as a whole and/or which are the best evidence of their own contents. To the

   extent alleged in Paragraph 131, Defendants deny that Lindell and/or Howse acted as an

   agent of MyPillow and place Plaintiff to his burden to prove such allegation.

          132.   Defendants assert that no response is required to the allegations in Paragraph

   132 of the Complaint, which are vague allusions to purported acts outside the scope of the

   Complaint and which are redundant, immaterial, impertinent, and/or scandalous. To the

   extent a response is deemed required, Defendants deny the allegations as stated in

   Paragraph 132 of the Complaint and place Plaintiff to his burden to prove such allegations.

   I.     Defendants’ allegations against Dr. Coomer were made with actual malice.9

          133.   Defendants deny the allegations as stated in Paragraph 133 of the Complaint

   and place Plaintiff to his burden to prove such allegations.

          134.   For the Answer to Paragraph 134 of the Complaint, Defendants assert that

   no response is required to the allegations therein which are not directed at Defendants, but

   to the extent a response is deemed required, Defendants further state that they lack

   knowledge or information sufficient to form a belief about the truth of such allegations, the

   legal effect of which is a denial.

          135.   For the Answer to Paragraph 135 of the Complaint, Defendants assert that

   no response is required to the allegations therein which are not directed at Defendants, but


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    Defendants deny the allegations of this sub-heading and place Plaintiff to his burden to
   prove such allegations.

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   to the extent a response is deemed required, Defendants further state that they lack

   knowledge or information sufficient to form a belief about the truth of such allegations, the

   legal effect of which is a denial.

          136.   For the Answer to Paragraph 136 of the Complaint, Defendants assert that

   no response is required to the allegations therein which are not directed at Defendants, but

   to the extent a response is deemed required, Defendants further state that they lack

   knowledge or information sufficient to form a belief about the truth of such allegations, the

   legal effect of which is a denial.

          137.   For the Answer to Paragraph 137 of the Complaint, including footnote 148,

   Defendants assert that no response is required to the allegations therein which are not

   directed at Defendants, but to the extent a response is deemed required, Defendants further

   state that they lack knowledge or information sufficient to form a belief about the truth of

   such allegations, the legal effect of which is a denial.

          138.   For the Answer to Paragraph 138 of the Complaint, Defendants assert that

   no response is required to the allegations therein which are not directed at Defendants, but

   to the extent a response is deemed required, Defendants further state that they lack

   knowledge or information sufficient to form a belief about the truth of such allegations, the

   legal effect of which is a denial. Defendants deny the remaining allegations as stated in

   Paragraph 138 and place Plaintiff to his burden to prove such allegations.

          139.   For the Answer to Paragraph 139 of the Complaint, Defendants assert that

   no response is required to the allegations therein which are not directed at Defendants, but

   to the extent a response is deemed required, Defendants further state that they lack


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   knowledge or information sufficient to form a belief about the truth of such allegations, the

   legal effect of which is a denial. Defendants deny the remaining allegations as stated in

   Paragraph 139 and place Plaintiff to his burden to prove such allegations.

          140.   For the Answer to Paragraph 140 of the Complaint, Defendants admit only

   that Lindell relied on the statements of Newsmax CEO Christopher Ruddy in forming his

   belief that Plaintiff made a “deal” to financially harm him and MyPillow by preventing

   Lindell from appearing on Newsmax and promoting his products. Defendants deny the

   remaining allegations as stated in Paragraph 140 and place Plaintiff to his burden to prove

   such allegations.

   J.     Defendants harmed Dr. Coomer.10

          141.   For the Answer to Paragraph 141 of the Complaint, including footnote 149,

   Defendants deny the allegations as stated in Paragraph 141 and place Plaintiff to his burden

   to prove such allegations.

          142.   For the Answer to Paragraph 142 of the Complaint, Defendants assert that

   no response is required because the allegations are not directed at Defendants. To the extent

   a response is deemed required, Defendants further state that they lack knowledge or

   information sufficient to form a belief about the truth of such allegations, the legal effect

   of which is a denial.

          143.   For the Answer to Paragraph 143 of the Complaint, Defendants assert that

   no response is required because the allegations are not directed at Defendants. To the extent


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     Defendants deny the allegations of this sub-heading and place Plaintiff to his burden to
   prove such allegations.

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   a response is deemed required, Defendants further state that they lack knowledge or

   information sufficient to form a belief about the truth of such allegations, the legal effect

   of which is a denial.

          144.   For the Answer to Paragraph 144 of the Complaint, Defendants assert that

   no response is required because the allegations are not directed at Defendants. To the extent

   a response is deemed required, Defendants further state that they lack knowledge or

   information sufficient to form a belief about the truth of such allegations, the legal effect

   of which is a denial.

          145.   Defendants deny the allegations as stated in Paragraph 145 of the Complaint,

   including footnote 150, and place Plaintiff to his burden to prove such allegations.

                                   V.     CAUSES OF ACTION

   A.     Defamation Against Defendants

          146.   Defendants restate and re-allege all preceding Paragraphs of this Answer.

          147.   Defendants deny the allegations as stated in Paragraph 147 of the Complaint

   and place Plaintiff to his burden to prove such allegations.

          148.   Defendants deny the allegations as stated in Paragraph 148 of the Complaint

   and place Plaintiff to his burden to prove such allegations.

          149.   Defendants deny the allegations as stated in Paragraph 149 of the Complaint

   and place Plaintiff to his burden to prove such allegations.

          150.   Defendants deny the allegations as stated in Paragraph 150 of the Complaint

   and place Plaintiff to his burden to prove such allegations.




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   B.     Intentional Infliction of Emotional Distress Against Defendants

          151.   Defendants restate and re-allege all preceding Paragraphs of this Answer.

          152.   For the Answer to Paragraph 152 of the Complaint, Defendants assert that

   no response is required to the allegations therein which are not directed at Defendants, but

   to the extent a response is deemed required, Defendants further state that they lack

   knowledge or information sufficient to form a belief about the truth of such allegations, the

   legal effect of which is a denial. Defendants all remaining allegations as stated in Paragraph

   152 of the Complaint and place Plaintiff to his burden to prove such allegations.

          153.   Defendants deny the allegations as stated in Paragraph 153 of the Complaint

   and place Plaintiff to his burden to prove such allegations.

          154.   Defendants deny the allegations as stated in Paragraph 154 of the Complaint

   and place Plaintiff to his burden to prove such allegations.

   C.     Civil Conspiracy Against Defendants

          155.   Defendants restate and re-allege all preceding Paragraphs of this Answer.

          156.   Defendants deny the allegations as stated in Paragraph 156 of the Complaint

   and place Plaintiff to his burden to prove such allegations.

          157.   Defendants deny the allegations as stated in Paragraph 157 of the Complaint

   and place Plaintiff to his burden to prove such allegations.

          158.   Defendants deny the allegations as stated in Paragraph 158 of the Complaint

   and place Plaintiff to his burden to prove such allegations.

          159.   Defendants deny the allegations as stated in Paragraph 159 of the Complaint

   and place Plaintiff to his burden to prove such allegations.


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   D.     Permanent Injunction

          160.    Defendants restate and re-allege all preceding Paragraphs of this Answer.

          161.    Defendants deny having made and/or published any defamatory statements

   relating to Plaintiff and deny that Plaintiff is entitled to injunctive relief.

   E.     Exemplary damages

          162.    Defendants restate and re-allege all preceding Paragraphs of this Answer.

          163.    Defendants deny the allegations as stated in Paragraph 163 of the Complaint

   and place Plaintiff to his burden to prove such allegations.

          164.    Defendants deny the allegations as stated in Paragraph 164 of the Complaint

   and place Plaintiff to his burden to prove such allegations.

          165.    Defendants deny the allegations as stated in Paragraph 165 of the Complaint

   and place Plaintiff to his burden to prove such allegations.

          166.    Defendants deny the allegations as stated in Paragraph 166 of the Complaint

   and place Plaintiff to his burden to prove such allegations.

          167.    Defendants deny the allegations as stated in Paragraph 167 of the Complaint

   and place Plaintiff to his burden to prove such allegations.

          168.    Defendants deny the allegations as stated in Paragraph 168 of the Complaint

   and place Plaintiff to his burden to prove such allegations.

          169.    Defendants deny the allegations as stated in Paragraph 169 of the Complaint

   and place Plaintiff to his burden to prove such allegations.

          170.    For the Answer to Paragraph 170 of the Complaint, Defendants admit only

   that Lindell did not personally read Plaintiff’s First Amended Complaint until March of


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   this year. Defendants deny the remaining allegations as stated in Paragraph 170 of the

   Complaint and place Plaintiff to his burden to prove such allegations.

          171.   Defendants deny the allegations as stated in Paragraph 171 of the Complaint

   and place Plaintiff to his burden to prove such allegations.

          172.   Defendants deny the allegations as stated in Paragraph 172 of the Complaint

   and place Plaintiff to his burden to prove such allegations.

          173.   Paragraph 173 of the Complaint contains unfounded and scandalous

   allegations that should be stricken from the Complaint. These allegations require no

   response from Defendants. To the extent a response is deemed required, Defendants deny

   the allegations as stated in Paragraph 173 of the Complaint and place Plaintiff to his burden

   to prove such allegations.

          174.   Defendants deny the allegations as stated in Paragraph 174 of the Complaint

   and place Plaintiff to his burden to prove such allegations.

                                VI.   DEMAND FOR RETRACTION

          175.   Defendants deny having made and/or published any defamatory statements

   relating to Plaintiff and deny that they need to retract any statement alleged by Plaintiff.

   Defendants further reserve the right to oppose Plaintiff’s further amendment of the

   pleadings.

                                      VII.   JURY DEMAND

          176.   Defendants do not dispute trial by jury on all issues so triable.




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                                     PRAYER FOR RELIEF

          WHEREFORE, Defendants pray for judgment as follows:

          1.       That Plaintiff’s Second Amended Complaint be dismissed with prejudice in

   its entirety;

          2.       That Defendants recover their reasonable costs, attorneys’ fees, and

   disbursements;

          3.       For such other and further relief as the Court deems just and proper.

                                  AFFIRMATIVE DEFENSES

          Subject to the responses above, Defendants allege and assert the following

   affirmative defenses in response to the allegations, undertaking the burden of proof only as

   to those defenses deemed affirmative defenses by law, regardless of how such defenses are

   denominated herein. In addition to the defenses described below, subject to their responses

   above, Defendants expressly reserve the right to allege additional defenses that become

   known through the course of discovery and/or trial.

          1.       Plaintiff cannot recover because Mr. Lindell believed his allegedly

   defamatory statements were true when the statements were made.

          2.       Plaintiff cannot recover because the allegedly defamatory statements were

   substantially true.

          3.       Plaintiff cannot recover because the allegedly defamatory statements were

   expressions of opinion, not fact.

          4.       Plaintiff’s claims are barred because the allegedly defamatory statements

   were made without actual malice.


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          5.     Plaintiff’s claims are barred by Section 230 of the Communications Decency

   Act of 1996 (47 U.S.C. § 230).

          6.     The statements alleged in the Complaint are protected by the First

   Amendment to the United States Constitution and by law. See, e.g., New York Times Co.

   v. Sullivan, 376 U.S. 254 (1964). Plaintiff is therefore constitutionally and legally barred

   from recovering on his claims.

          7.     Defendants bear no responsibility for the statements alleged in the Complaint

   to be defamatory because and to the extent Defendants neither made nor endorsed the

   statements.

          8.     Plaintiff’s claims are barred in whole or in part by the applicable statute of

   limitations and/or the single publication rule.

          9.     Plaintiff’s claims are barred in whole or in part because the allegedly

   defamatory statements are of and concerning Plaintiff in his role as a governmental actor,

   which deprives him of standing to sue and/or creates an absolute privilege for the

   statements.

          10.    Plaintiff has suffered no damages arising from any act by Defendants.

          11.    Plaintiff has failed to mitigate his alleged damages.

          12.    Plaintiff has failed to name and join necessary parties who are responsible

   for any alleged damages.

          13.    Plaintiff has failed to plead special damages under the heightened pleading

   requirements of Federal Rule of Civil Procedure 9(g).




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          14.       Plaintiff has failed to identify damages under Federal Rule of Civil Procedure

   26(a)(1)(iii).

          15.       Plaintiff’s claims are barred in whole or in part because some or all of any

   alleged damages suffered by Plaintiff were not caused by the statements allegedly made by

   Defendants and were, in fact, caused by intervening, supervening, and/or preceding causes

   independent of Defendants’ conduct.

          16.       By his actions, activities, omissions, and/or words, Plaintiff assumed the risk

   of any damages he suffered. Through his own public statements while employed by

   Dominion, Plaintiff assumed the risks of criticism, public debate, emotional distress, loss

   of employment, and/or the loss of future employment opportunities.

          17.       Plaintiff is barred from recovery by his own illegal and inequitable conduct.

          18.       Plaintiff is barred from recovery in this litigation because and to the extent

   he has been made whole by settlement agreement(s) with non-parties.

          19.       Plaintiff is estopped from recovering under his claims.

          20.       Plaintiff has waived any right to recovery for his claims.

          21.       Plaintiff is barred from recovery by his unclean hands.

          22.       Plaintiff’s claims are barred in whole or in part by Plaintiff’s own

   contributory negligence.

          23.       Plaintiff’s claims are barred in whole or in part by the incremental harm

   doctrine.




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             24.   Plaintiff’s claims are barred in whole or in part by the libel-proof plaintiff

   doctrine. Defendants’ statements failed to cause Plaintiff harm as his reputation had already

   been damaged beyond repair by his own conduct.

                                  RESERVATION OF RIGHTS

             Defendants reserve the right to revise, supplement, and/or amend their Answer and

   Defenses, including reserving any defenses permitted under the Federal Rules of Civil

   Procedure, and/or at law or in equity, that may now exist or may in the future be available

   based on discovery and/or further investigation in this case.

             WHEREFORE, Defendants respectfully pray for an order and judgment of this

   Court in their favor against Plaintiff as follows:

             1.    Dismissing Plaintiff’s Second Amended Complaint with prejudice and on the

   merits.

             2.    That Defendants be awarded their costs and reasonable attorneys’ fees

   incurred in the defense of this action.

             3.    Awarding Defendants such other and further relief as the Court deems just

   and equitable.




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   DATED: July 21, 2023              PARKER DANIELS KIBORT LLC


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